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          Comptroller Stringer: Despite a Decline in I…



          Comptroller Stringer:
          Despite a Decline in
          Incarceration, Correction
          Spending, Violence, and Use
          of Force Continued to Rise in
          FY 2018
          January 22, 2019




          In the midst of criminal justice reforms, rates of
          violence among inmates, assaults on officers, and use
          of force incidents all higher compared to ten years ago.
          Annual cost per detainee soars over $300,000 – up 66
          percent since 2014.
          (New York, NY) — As the daily jail population reaches record lows,
          the City Department of Correction (DOC) budget expanded 3
          percent to $1.39 billion in FY 2018 and the average annual cost per
          inmate broke a new record at over $300,000, according to a new
          analysis released today by New York City Comptroller Scott M.
          Stringer. Despite the population reduction and investments in
          greater security and training, the data further shows use of force
          incidents and rates of violence increased last year. Even more
          concerning, rates of violent incidents between inmates, attacks on
          Corrections staff, and use of force were all higher compared to ten
          years ago in FY 2008 – in some instances, as high as 258 percent.

          “Safety in our jails must be one of our highest criminal justice
          priorities because this isn’t just about officers and inmates – it’s
          about parents, siblings, and friends. Working towards closing Rikers
          Island and a record reduction in our incarcerated population is a
           start, but on our roadDocument
Case 1:21-cv-09012-DLC            to real reform,41-23
                                                  we’re seeing some10/24/22
                                                            Filed   numbers Page 3 of 5
              continue to move in the wrong direction,” said Comptroller
              Stringer. “The DOC is spending more money with more staff to
              guard fewer people, yet rates of violence and assault continue to
              rise which is troubling both for our detained population and for
              correction officers. We have to do better, and this analysis sheds a
              light on just how much work remains ahead of us.”

              Comptroller Stringer’s analysis uses budget data, claims against the
              City, reports of violence in City jails, and personnel data to analyze
              the Department of Correction’s operations. According to the
              analysis:

              Despite a 37-year record low in the jail population, DOC’s budget
              continued to grow

                  In Fiscal Year 2018, the average daily population (ADP) fell to a
                  37-year record low 8,896. As a result of falling crime rates, as
                  well as concerted efforts to increase diversion programs and
                  improve case processing times, among other City initiatives, the
                  average jail population has fallen by 36 percent since FY 2008.
                  However, the DOC budget reached $1.39 billion in FY 2018, an
                  increase of 3 percent from FY 2017 and 47 percent since FY
                  2008, ten years ago.




              Costs Continued Long-term Rise

                  The DOC spent $156,775 for every person in custody in FY 2018,
                  10 percent higher than FY 2017 and a 128 percent increase from
                  FY 2008, ten years ago.

              The City funds additional jail expenses outside of the DOC budget,
              such as fringe benefits, pension costs, and medical services.
              Including these additional costs, the City spent a total of $302,296
              per detainee in FY 2018, or $828 per day – an increase of 158
              percent since FY 2008.




              DOC Employed More Correction Offi cers than Detainees for the
              Third Consecutive Year
              While the numberDocument
Case 1:21-cv-09012-DLC         of uniformed 41-23
                                            employeesFiled
                                                     declined from
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                 10,862 at the end of FY 2017 to 10,653 at the end of FY 2018, the
                 number of officers remained higher than the average daily jail
                 population.

                 The ratio of correction officers to detainees was 1.2 officers per
                 detainee in FY 2018. A decade ago, the ratio was 0.66 when DOC
                 employed 9,149 officers for an average daily population of
                 13,850.

                 Agency overtime fell for the second consecutive year to $222
                 million, or $24,925 per detainee. Overall overtime has declined
                 by 19 percent in the last two years but remains more than
                 double the expense in FY 2008.

             Despite Greater Resources, Violence Continued to Increase

             Over the last several years, the City has invested substantial new
             resources in expanded jail programs, greater security, and officer
             training, yet results continue to be elusive. The Comptroller’s report
             shows:

                 The rate of total “fight/assault” infractions grew by 2 percent in
                 the last year to 1,354 events per 1,000 average daily population
                 – more than three times higher than the rate in FY 2008.

                 After falling in FY 2016, the rate of detainee assaults on staff
                 grew for the second year to 110.4 incidents per 1,000 ADP – an
                 increase of 258 percent since FY 2008.
                 Despite a smaller jail population, the number of incidents and
                 allegations of use of force by correction officers on detainees
                 increased from 5,070 in FY 2017 to 5,589 in FY 2018. On a per
                 ADP basis, the rate of use of force grew by 18 percent in FY 2018
                 and is now 4.5 times higher than in FY 2008.
                 Growth in the number of tort claims filed for personal injury at
                 City Correction Facilities has slowed in the last two years, rising
                 1.5 percent in FY 2018 to 3,894 claims. Nonetheless, the
                 number of claims remains high, at nearly four times its level in
                 FY 2008.




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